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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF ALABAMA
                          NORTHERN DIVISION

 UNITED STATES OF AMERICA                  )
                                           )
       v.                                  ) CASE NO. 2:18-CR-111-WKW
                                           )             [WO]
 LITTLE JOE FOSTER                         )

                                      ORDER

      Defendant has filed a pro se motion for compassionate release in which he

seeks to modify an imposed term of imprisonment pursuant to 18 U.S.C.

§ 3582(c)(1)(A)(i). (Doc. # 83.) He was convicted of possessing a firearm in

furtherance of a drug trafficking offense, in violation of 18 U.S.C. § 924(c)(1)(A)(i),

and was sentenced to sixty months’ imprisonment. (Doc. # 79.)

      Upon a thorough review of the record and upon consideration of the 18 U.S.C.

§ 3553(a) factors, the court concludes that Defendant’s motion is due to be denied

for the reasons set out in the Government’s response. (Doc. # 97.) Accordingly, it

is ORDERED that Defendant’s motion for compassionate release (Doc. # 83) is

DENIED.

      It is further ORDERED that Defendant’s pro se motion to appoint counsel

(Doc. # 83) is DENIED.

      DONE this 23rd day of September, 2020.

                                             /s/ W. Keith Watkins
                                        UNITED STATES DISTRICT JUDGE
